Case 1: 23. -CV- 09903- RA- Document 7 Filed. ou/12i23 ‘Page 1 of 1 .
Arrorney(s) : Gottlieb & Associates ,

~ Inpex #2 1:22-cv-09903-RA

Purcasen/FiLen : ‘November 22, 2022

- Sratkor: : New Yor ,
~ Court: US. District
- Counry/Disrnicr : ‘Southem Dist:

" AFFIDAVIT OF. SERVICE - ‘SECRETARY OF STATE
“Frank Senior, ‘On Behalf of Himself and All Other Persons Similarly Situated,

Plaintiffs) >
against
Cavalier Gallery, LLG I

 

 

 

 

 

--. STATE OF NEW YORK c a DESCRIPTION OF PERSON SERVED; "Approx. Age: 69 Yrs.
~ COUNTY OF ALBANY. )SS © a —
CITY OF ALBANY. yo Weight: 120. Lbs. _Height:” 8 oO". “Sex: Female Color of skin: white a
- Hait color: Blonde Other: oo So
“- Robert Guyette _ - . , being duly sworn, deposes and says’ ‘deponent is over
the age of eighteen (18) years; is nota party to this action, and resides in the. State of NY, and. thaton |
December 23,2022. =, at 11:55AM, at the office of the Secretary of State of the State of NY,

 

located at 99 Washington ‘Ave, 6th Fl, Albany, New York 12231 deponent served:
Summons in A Civil Action & Complaint eo

 

Cavalier Gallery, Luc

 

. the Defendant i in this action, by delivering to and leavirig with» wo ~ Sue @ Zouky
- AUTHORIZED AGENT inthe Office of the Secretary of State, of the State of New York, personally at the -
. Office of the Secretary of State. of the State of New York, two (2) true copies thereof ‘and that at the time of

 

oo making such’ service, deponent paid said Secretary af State a fee of Se $40 dollars; That said service.
, Ww was made pursuant to Section” “EiMITED! LIABILITY ‘COMPANY. LAW: ¥-9008, prt ele Toe eee

 

Deponent further says that deponent knew. the. person so served as aforesaid to be the agent in the Office: .
of the. Secretary of State of the State of New York, duly a authorized to accept such service: on behalf of said
defendant. yf

Sworn io before me. on this

 

 

 

23rd day of _December, 2022 - So TT Robert Ouyette Ct
fof es A nvoice-Work Order. #2247260
~ Altomey File # | Senior » ,

 

FAITH Cozzy . “
NOTARY PUBLIC, State of New York
No; 01008158874, Albany County

Commission Expires Jan 8, 2023° ”

 
    
